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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


RED LAKE BAND OF CHIPPEWA
INDIANS, et al.,
           Plaintiffs,
     v.
UNITED STATES ARMY CORPS OF
ENGINEERS,                                           Civil Action No. 20-3817 (CKK)

           Defendant,

ENBRIDGE ENERGY, LIMITED
PARTNERSHIP,

     Defendant-Intervenor.

FRIENDS OF THE HEADWATERS,
           Plaintiff,
     v.
UNITED STATES ARMY CORPS OF
ENGINEERS, et al.,                                   Civil Action No. 21-0189 (CKK)
           Defendants,

ENBRIDGE ENERGY, LIMITED
PARTNERSHIP,

          Defendant-Intervenor.


ORDER CONSOLIDATING CASES AND SETTING SCHEDULE, PAGE LIMITS, AND
                         PROCEDURES
                         (March 22, 2021)
    Presently before the Court are the following:

    •     U.S. Army Corps of Engineers’ Motion to Consolidate Cases in Red Lake Band of
          Chippewa Indians et al. v. U.S. Army Corps of Engineers, Case No. 20-cv-03817
          (CKK), ECF No. 41 and U.S. Army Corps of Engineers’ Motion to Consolidate Cases
          in Friends of the Headwaters v. U.S. Army Corps of Engineers et al, Case No. 21-cv-
          0189 (CKK), ECF No. 16 (“Federal Defendant’s Motions to Consolidate”);



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       •    Plaintiffs’ Partial Opposition to Defendant’s Motion to Consolidate in Red Lake Band
            of Chippewa Indians et al. v. U.S. Army Corps of Engineers, Case No. 20-cv-03817
            (CKK), ECF No. 46 (“Red Lake Band Opposition”);

       •    Plaintiff’s Opposition to Defendant’s Motion to Consolidate in Friends of the
            Headwaters v. U.S. Army Corps of Engineers et al., Case No. 21-cv-0189 (CKK), ECF
            No. 17 (“Friends of Headwaters Opposition”);

       •    Joint Status Report in Red Lake Band of Chippewa Indians et al. v. U.S. Army Corps
            of Engineers, Case No. 20-cv-03817 (CKK), ECF No. 45 (“Joint Status Report”).

        As set forth below, the Court shall order that Red Lake Band of Chippewa Indians et al. v.
U.S. Army Corps of Engineers, Case No. 1:20-cv-03817 (CKK) and Friends of the Headwaters v.
U.S. Army Corps of Engineers et al., Case No. 1:21 cv-0189 (CKK) be consolidated for all
purposes. See infra Section I. The Court shall also order the parties to comply with the schedule
and page limitations set forth in Section II, as well as the procedures set forth in Section III. The
parties are urged to carefully review this Order.

                                    I.   CONSOLIDATION
       Defendant U.S. Army Corps of Engineers (“Federal Defendant”) has filed in Case No. 20-
cv-03817 and Case No. 21 cv-0189 motions to consolidate pursuant Rule 42(a) of the Federal
Rules of Civil Procedure, seeking to consolidate these two cases. See 20-cv-03817, ECF No. 41;
21 cv-0189, ECF No. 16. Intervenor-Defendant Enbridge Energy LP consents to Federal
Defendant’s Motions to Consolidate.
        Plaintiffs in each action consent to consolidation of these two actions, but object to Federal
Defendant’s proposal that Plaintiffs be required to file joint briefs and object to the proposed
schedule offered by Federal Defendant. Plaintiffs indicate that should the Court allow separate
briefs, Plaintiffs shall coordinate to minimize duplication in their arguments and shall share the
total number of pages allotted under this Court’s Order and local rules for motions, oppositions,
and replies, to avoid burdening the Court with excessive briefing.
        Taking into consideration the parties’ consent to consolidation, the Court finds that the
cases involve common issues of fact and law, that they pertain to the same underlying actions, and
that the interests of judicial economy, efficiency and conservation of costs will be served by
consolidation. Therefore, in accordance with Federal Rule of Civil Procedure 42(a), it is, this
         ORDERED that Federal Defendants’ motions are GRANTED and that Case No. 20-cv-
03817 and Case No. 21-cv-0189 are consolidated for all purposes. The parties are directed that all
filings in these consolidated cases shall be made only in Case No. 20-cv-03817. The parties shall
make no additional filings in Case No. 21 cv-0189, and the Clerk is directed to close Case No. 21-
cv-0189 and transfer whatever parties are not identical to Case No. 20-cv-3817; it is further


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                                    III.   PROCEDURES
        In order to administer this civil action in a manner fair to the litigants and consistent with
the parties’ interest in completing this litigation in the shortest possible time and at the least
possible cost, it is, hereby ORDERED that the parties are directed to comply with each of the
directives set forth below. The Court will hold the parties responsible for following these
directives; failure to conform to this Order’s directives may, when appropriate, result in the
imposition of sanctions. See, e.g., Fed. R. Civ. P. 16(f).

1. COMMUNICATIONS WITH THE COURT. The parties should endeavor to keep
   communications with Chambers to a minimum. Ex parte communications on matters other
   than scheduling are strictly prohibited; if the parties need to contact Chambers, it must be
   done jointly pursuant to a conference call arranged by the parties.

2. MOTIONS FOR EXTENSIONS OF TIME. The Court will not entertain or honor
   stipulations for extensions of time; parties must file a motion in accordance with the following
   instructions:

               (a) Motions for extensions of time must be filed at least four (4) business days
                   prior to the first affected deadline.

               (b) Motions for extensions of time are strongly discouraged; they will be granted
                   only in truly exceptional or compelling circumstances and parties should not
                   expect the Court to grant extensions.

               (c) All motions for extensions of time must include the following or they will not
                   be considered:

                       (i)     The specific grounds for the extension;

                       (ii)    The number of previous extensions, if any, granted to each party;

                       (iii)   A statement of the impact that the requested extension would have
                               on all other previously set deadlines;

                       (iv)    A proposed schedule for any other affected deadlines, to be proposed
                               only after consulting with opposing counsel; and

                       (v)     A statement of opposing counsel’s position vis-à-vis the motion in
                               accordance with Local Civil Rule 7(m).




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3. MOTIONS GENERALLY. Parties must comply with the following instructions when
   briefing any motion:

          (a) Memoranda of points and authorities filed in support of or in opposition to any
              motion shall not exceed the pages limits set forth supra Section II, with margins
              set at one inch and with all text double-spaced (excepting footnotes) and in twelve-
              point Times New Roman (including footnotes).

          (b) A party may not file a sur-reply without first requesting leave of the Court.

          (c) Where a party fails to file a memorandum of points and authorities in opposition to
              a given motion, the Court may treat the motion as conceded, except with respect
              to motions for summary judgment. See Local Civil Rule 7(b); Winston & Strawn,
              LLP v. McLean, 843 F.3d 503, 505-08 (D.C. Cir. 2016) (citing, e.g., Fed. R. Civ.
              P. 56(e)(3)). Similarly, where a party fails to respond to arguments in opposition
              papers, the Court may treat those specific arguments as conceded. Phrasavang v.
              Deutsche Bank, 656 F. Supp. 2d 196, 201 (D.D.C. 2009).

          (d) Exhibits shall be properly edited to exclude irrelevant material and to direct the
              Court’s attention to the pertinent portions thereof.

          (e) Each submission shall be accompanied by a table of cases and other authorities
              cited therein.

          (f) Every pleading or paper, regardless of whether it is submitted by an attorney or a
              pro se party, shall contain the name, address, telephone number, and, for an
              attorney, bar identification number. See Local Civil Rule 5.1(c).

4. MOTIONS FOR SUMMARY JUDGMENT. Parties must comply with the following
   instructions when briefing motions for summary judgment and the Court may strike papers not
   in conformity therewith:

          (a) In accordance with Local Civil Rule 7(h)(2), each motion for summary judgment,
              and opposition thereto, shall include a statement of facts with references to the
              administrative record. The parties must furnish precise citations to the portions of
              the administrative record on which they rely; the Court need not consider materials
              not specifically identified. Fed. R. Civ. P. 56(c)(1)(A), (c)(3).

          (b) Pursuant to Local Civil Rule 7(n), the parties shall provide the Court with a joint
              appendix containing copies of those portions of the administrative record that are
              cited or otherwise relied upon in any memorandum in support of, or in opposition
              to, a motion for summary judgment.


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5. MOTIONS FOR RECONSIDERATION. Motions for reconsideration of prior rulings are
   strongly discouraged. Such motions shall be filed only when the requirements of Fed. R. Civ.
   P. 54(b), Fed. R. Civ. P. 59(e), and/or Fed. R. Civ. P. 60(b) are met. If such a motion is filed,
   it shall not exceed ten (10) pages in length. Moreover, the Court will not entertain: (a)
   motions which simply reassert arguments previously raised and rejected by the Court; or (b)
   arguments which should have been previously raised, but are being raised for the first time.
   See Nat’l Trust v. Dep’t of State, 834 F. Supp. 453, 455 (D.D.C. 1995). Motions not in
   compliance with these instructions may be stricken.

6. COURTESY COPIES. The parties shall deliver one (1) courtesy copy of any submission that
   is over twenty-five (25) pages in length or that includes more than one (1) exhibit to the Court
   Security Officer at the loading dock located at Third and C Streets (not the Clerk’s Office or
   Chambers). Courtesy copies shall be appropriately bound and tabbed for ease of reference.

7. HYPERLINKED SUBMISSIONS. Within five (5) business days of the deadline for filing
   their submissions, the parties shall submit hyperlinked versions of their submissions. The
   hyperlinks shall link to the precise page of the exhibit or relevant legal authority cited. Should
   the parties have any questions about the Court’s technological capabilities or preferences, they
   may contact the Chambers of Judge Kollar-Kotelly.

8. SETTLEMENT. The parties are expected to evaluate their respective cases for purposes of
   settlement. The Court encourages the use of alternative dispute resolution—e.g., mediation or
   neutral case evaluation. The use of these methods is available at any time, as is a settlement
   conference before a magistrate judge. If counsel are interested in pursuing these options, they
   may contact Chambers at any time. If the case settles in whole or in part, counsel shall
   promptly advise the Court.

9. APPEARANCES AT HEARINGS. Principal trial counsel must appear at all hearings unless
   excused by the Court in advance.

       SO ORDERED.


                                                         /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge




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